32 F.3d 562
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frederick Donald CLARK, Petitioner Appellant,v.H. L. ALLSBROOK;  Attorney General of North Carolina,Respondents Appellees.
    No. 94-6591.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 23, 1994Decided:  July 28, 1994.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Charlotte.  James B. McMillan, Senior District Judge.  (CA-87-563-M-C)
      Frederick Donald Clark, Appellant Pro Se.
      Barry Steven McNeill, Assistant Attorney General, Raleigh, North Carolina, for Appellee.
      W.D.N.C.
      DISMISSED.
      Before MURNAGHAN and WILKINS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    